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UNITED sTATEs DISTRICT coURT g AM- D»C-

WES'I`ERN DISTRICT OF TENNESSEE 95 JUL 2 l
Western Division

 

UNITE]) STATES OF AMERICA

-vs- Case No. 2:05cr20230-Ml
ODIE SMITH

 

ORDER OF TEMPORARY DETENTION
PENDING HEARJNGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Govemment, it is ORDERED that a detention hearing is set for
MONDAY, JULY 25, 2005 at 3 :00 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing

Date: July 20, 2005 ` y ZE
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DlANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

llf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(0(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(i) are present. Subsection ( l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial oft'ieer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or j uror.

AO 470 (BIBS) Orclar of Terrporary Detention

Tnis document entered on the docket sheet ln compliance
with Flule 55 andfor 32(b) FRCrP on

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20230 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listedl

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

